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                Case 8:21-cv-02623-DKC
            DISTRICT  COURT OF MARYLANDDocument 1-2  Filed 10/13/21
                                                 for Prince          Page 2 of 9
                                                            George's County
            Located at Courthouse, Bourne Wing, Upper Marlboro, Maryland 20772

                                    WRIT OF SUMMONS
                                                                                Date Filed     : Oct 9, 2020
Defendant: JPMCB
                                                                                Issue Date     : Sep 13, 2021
Serve On : JPMCB                                                                Case Number : 050200238882020
Address : 270 PARK AVE.                                                         Complaint No. : 001
            NEW YORK, NY 10017
                                                                                Trial Date : Jan 25, 2022
                                                                                Trial Time : 08:45 am
                                                                                Trial Room : 161B
 You are summoned to appear for trial at the date, time and location shown above. If you intend to be present at the t ial,
 you must file the attached Notice of Intention to Defend within sixty days of receiving this complaint. Failure to file the
 Notice of Intentioh to Defend may result in a judgment by default or the granting of the relief sought.

 MUST BE SERVED BY Oct 13, 2021                           Robert Prender, Administrative Clerk / 5K9




 CUT HERE                                                                                                          — CUT HERE
                                NOTICE OF INTENTION TO DEFEND
 Defendant : JPMCB                                                                              Case 0 050200238882020
 Trial Date : Jan 25, 2022                                                                      Complaint # 001
 NOTICE:If you contest all or part of the claim, complete this Notice of Intention to Defend and file it with the court listed
 at the top of this summons no later than 60 days after you receive this summons. You may request a remote hearing.
 For more information about remote hearings, visit mdcourts.govklistrict/remotehearings or contact the court
 (mdcourts.govklistrict/directories/courtmap). If you do not attend the hearing, a judgment could be entered against you.
 ATTENTION CORPORATIONS & LLCs: this notice must be filed by an attorney, and you must be represented at trial
 by an attorney. EXCEPTION: Where the amount claimed doesn't exceed $5,000.00, corporations may be represented by an
 officer; LLCs may be represented by a member. Both may be represented by a properly designated employee. See Maryland
 Annotated Code, Business Occupations and Professions, § 10-206(b)(4) for details.
 To request a foreign language interpreter or a reasonable accommodation under the ADA, please contact the
 court immediately. Possession and use of cell phones and other electronic devices may be limited or prohibited
 in designated areas of the court facility.
                     SEE ATTACHED NOTICE FOR IMPORTANT INFORMATION
 I intend to be present at the trial of this claim and demand proof of the Plaintiffs claim.
 Brief Explanation of defense :


      1120
         Date                         Signature                                     Wo Ir Pho                       H m Ph ne

                                                      Address/City/State/Zip code

                Fax number                e-Mad Address
 0 Check this box if this is a new address.
                                                                                         I I N . 1 2011.11881lil            I
                 DISTRICT Case
                          COURT   OF MARYLAND FOR
                               8:21-cv-02623-DKC Document 1-2 Filed 10/13/21 Page 3 of 9
                                LOCATED AT (COURT ADDRESS)                                                COMPLAINT/APPLICATION AND AFFIDAVIT
             14735 Main St, Upper Marlboro, MD 20772                                                                  IN SUPPORT OF JUDGMENT
                                                                                                           0 $5,000 or under 0 over $5,000 lig over $10,000
                                                                                         2        Clerk: Please docket this case in an action of 0 contracta tort
                                         CASE NO.
                                                                                                  0 replevin 0 detinue 0 bad faith insurance claim
                                                                                                 Th e particulars of this case are:
(CV                                                                                       )



                                         PARTIES                                                  I am seeking relief from the three credit bureaus - Equifax,
 Plaintiff                                                                                        TransUnion and Experian as well as all listed creditors listed as
      Pamela Annette Bowman                                                                       defendants. In this action I am demanding the removal of all
                                                                                                  fraudulent and erroneous accounts listed on my credit report within 7
                                                                                                  days, as well as all addresses that do not match my current mailing
                                                                                             )
                                                                                                  address to be removed as well. My life is a direct reflection of my
                                                                                                  credit score and all defendants have caused great harm and damage to
                                           VS.
                                                                                                  both. As a result, I am also seeking $29,061.50 in relief and damages.
 Defendanfis):                                                                  Serve by:
   •IPMCB                                                                       Pgl Certified
                                                                                                  As a result my score should reflect these deletions with and estimated
    270 Park Ave                                                                    Mail          increase of at least 143 points per the credit bureaus online algorithm.
                                                                                0 Private
    New York, NY 10017                                                              Process
                                                                                0 Constable
                                                                                0 Shiniff
                                                                                Serve by:
 2.
                                                                                0 Certified
                                                                                    Mail
                                                                                O Private
                                                                                    Process
                                                                                0 Constable
                                                                                0 Sheriff
 3.                                                                             Serve by:                                            (See Confinuation Sheet)
                                                                                El Certified
                                                                                    Mail
                                                                                0 Private        The plaintiff claims $29,061.50 , plus interest of $                     ,
                                                                                    Process      interest at the 0 legal rate 0 contractual rate calculated at             %,
                                                                                0 Constable
                                                                                0 Sheriff        from                   to                  ( 1095 days x $ legal rate
                                                                               Serve by:         per day) and attorney's fees of $                     plus court costs.
 4.
                                                                               0 Unified         0 Return of the property and damages of $
                                                                                   Mail
                                                                               0 Private            for its detention in an action of replevin.
                                                                                   Process       0 Return of the property, or its value, plus damages of
                                                                               0 Constable          $                              for its detention in action of detinue.
                                                                               0 Sheriff.,       0 other Remove derogatories from all 3 credit bureaus within 7 days
                                      ATTORNEYS
                                                                                                    and demands jufigmçnt for relief.
  For Plaintiff -Name, Address, Telephone Number & Code
  No Attorney/Pro se                                                                                            Signa          Plaintiff/Attorney/Attorney Code   CEP ID No.
  Pamela Annnette Bowman                                            Printed Name: Pamela Annette Bowman
  12310 Kemmerton Lane                                              Address: 12310 Kemmerton Lane Bowie, MD 20715
  Bowie, MD 20715
                                                                    Telephone Number: 301-442-0540
  301-442-0540                                                      Fax:
[
                                                                    E-mail:
                                                      MILITARY SERVICE AFFIDAVIT
0 Defendant(s)                                                                                           is/are in the military service.
o No defendant is in the military service. The facts s orti             t-are:
                                              Specific factsmustbe given orthe colon° coneludetha each Dctrndantwhoisanatuntpaaoatsnorinthcmtliiasy.


ID I am unable to determine whether or not any defendant is in military service.
I hereby declare or affirm under thepenalties of perjury that the facts and matters set forth in the aforegoing Affidavit are true and correct to
the best of my knowledge, information, and belief

                                  Date                                                                                                 Signature of Milani
                APPLICATION AND AFFIDAVIT IN SUPPORT OF JUDGMENT (See Plaintiff Notice on Back Page)
Attached hereto are the indicated documents which contain sufficient detail as to liability and damage to apprise the defendant clearly of the
claim against the defendant, including the amount of any interest claimed.
OProperly authenticated copy of any note, security animment upon which claimis based OH Itemized statement of account 0 Interest workshee
o Vouchers 0 Check GA Other written document 0 numavit, credit neport I . .Not Anacnea) 0 Verified itemized repair bill or estimate
I HEREBY CERTIFY: That I am the WI plaintiff 0 MA                                            of the plaintiff herein and am competent to testify
to the matters stated in this Complaint, which are made on my personal knowledge; that there is justly due and owing by the defendant to the
plaintiff the sum set forth in the Complaint.
I solemnly affirm under the penalties of perjury and upon personal knowledge that the c        n of the above Complaint are true and I am
competent to testify to these matters.
                       4 HP-75-c-,
                                  bate                                                                                                Signature of Affiant
DC-CV-001 (front) (Rev. 12/2018)
                      Case 8:21-cv-02623-DKC Document 1-2 Filed 10/13/21 Page 4 of 9
                                                NOTICE TO DEFENDANT
                                                          Before Trial
If you agree that you owe the plaintiff the amount claimed, you may contact the plaintiff (or plaintiff s attorney) before
the trial date to arrange payment. If you wish to contest the claim, you should notify the clerk's office by filing a Notice
of Intent to Defend (located at the bottom of your summons). The case will be set for trial. If you wish to have your
witnesses appear at trial, you should contact the clerk's office at least two weeks before the trial date to request subpoenas,
and you should bring to court on the trial date any evidence you want the court to consider. If you do nothing, a judgment
could be entered against you.
                                    If Judgment is Entered Against You (If You Lose)
IF YOU DISAGREE WITH THE COURT'S RULING, you may:
    1. APPEAL to the circuit court, by filing a Notice of Appeal in the District Court within 30 days after the entry of
        judgment. You will have to pay a filing fee (see Guide to Appeal Fees, DCA-109A), unless the
        court determines that you are indigent. If the amount of the claim, not counting court costs, interest,
        and attorney's fees, is:
           • more than $5,000, you will also have to order and pay for a transcript of the District Court trial
              record, by contacting the District Court clerk's office (see Transcripts & Recordings Brochure, DCA-0278R).
          • $5,000 or less, you will have a new trial in the circuit court.
       On your trial date you should bring with you any evidence that you want the court to consider.
   2. File a MOTION FOR A NEW TRIAL within 10 days after the entry ofjudgment, stating your reasons clearly. If
      the court denies your motion, you may still file an appeal; if the court grants your motion,
      you must appear in the District Court for a new trial.
   3. File a MOTION TO ALTER OR AMEND IHE JUDGMENT within 10 days after entry ofjudgment.
   4. File a MOTION TO REVISE OR VACATE THE JUDGMENT within 30 days after entry ofjudgment
IF YOU DECIDE NOT TO APPEAL AND NOT TO FILE ONE OF THE ABOVE MOTIONS, you may contact the
plaintiff or plaintiff's attorney to arrange to pay the amount owed. If you do not pay the amount owed, the plaintiff or
plaintiffs attorney may initiate further proceedings to enforce the judgment, including:
    I. Interrogatories: You must answer these written questions about your income and assets in writing
         under penalties of pedury.
   2. Oral Examination: You must appear in court to testify in response to questions about your assets and income.
   3. Writ of Execution: The court may issue a writ requiring the sale or seizure of any of your possessions except,
         with some exceptions, property that is exempt from execution. The exemptions are explained in detail on the
         reverse side of the Writ of Execution form, DC-CV-040. Further, the court could order you to pay additional
         expenses such as towing, moving, storage fees, advertising costs, and auctioneer's fees incurred in executing the
         writ.
   4. Garnishment of Property: The court may issue a writ ordering a bank or other agent to hold your
         assets until further court proceedings.
   5. Garnishment of Wages: The court may issue a writ ordering your employer to withhold a portion of
         your wages to pay your debt. The law provides certain exemptions from garnishment.
If you have any questions, you should consult an attorney. The clerk of the court is not permitted to give you legal
advice. More information can be found in court brochures located in the clerk's office or online at:
http://www.mdcourts.gov/districtlpublic _brochures.html.
                                                NOTICE TO PLAINTIFF
REQUESTING A JUDGMENT BY AFFIDAVIT OR DEFAULT:
Federal Law requires the filing of a military service affidavit. Information about the Servicemembers Civil Relief Act and
the required affidavit can be found on the court's website at: http://mdcourts.gov/reference/scra.html.
AFTER THE COURT ENTERS A JUDGMENT:
I. If the court enters a judgment for a sum certain, you have the right to file for a lien on real property.
2. If you disagree with the outcome of the case, you have the same post-trial rights as the defendant does:
    you may file an Appeal, a Motion for New Trial, a Motion to Alter or Amend the Judgment or a Motion to Revise or
    Vacate the Judgment. See above for further information concerning these rights.

DC-CV-001 (back) (Rev. 12/2018)
            Case 8:21-cv-02623-DKC Document 1-2 Filed 10/13/21 Page 5 of 9




                                          (Court Level and Jurisdiction)

Pamela Annette Bowman


                                                                           (Case ID Number)




                     Plaintiff




JPMCB




                   Defendants

                                               AFFIDAVIT



I, Pamela Annette Bowman, of Bowie, in Prince George's, Maryland, MAKE OATH AND SAY THAT:

    1. It is a fact that I have live at 12310 Kemmerton Lane in Bowie Maryland and am presently living
        at this address. A copy of my ID was sent to all credit bureaus for correction and verification;

    2. It is a fact that I am the Executor, Administrator, etc. for communication against all debt
        obligations and I am the Chief Executive Officer for PAMELA ANNE'l lb BOWMAN;

    3. It is a fact that I noticed erroneous and inaccurate information on my credit report in December of
        2019. There were several fraudulent accounts and multiple inquiries that are not mine;




                                                                                                     Page 1 of 5
              Case 8:21-cv-02623-DKC Document 1-2 Filed 10/13/21 Page 6 of 9
Aindavk                                                                                               Page 2 of 5

    4. It is a fact that once these errors came to my attention I contacted all three credit bureaus as well
        as the companies/creditors that were erroneously reported on my credit report;

    5. It is a fact that I did not and do not authorize TransUnion, Equifax or Experian or any creditor to
        misreport any information now or ever-

    6. It is a fact that I have sent over 11 letters to each of the three credit bureau as well as to the
        creditors requesting that the false fraudulent items be removed from my credit report;

    7. It is a fact that after not seeing any updates in my report as requested after 10 months of disputing
       items wrongfully placed on my credit report I sent additional letters via certified mail;

    8. It is a fact that certified letters to all three credit bureaus and each of the creditors were mailed
        beginning May of 2019;

    9. It is a fact that I requested all incorrect and erroneous addresses be removed from my credit report
        in my certified mailings as well as my July 2020 affidavit;

   10.It is a fact that I requested that all fraudulent accounts be removed from my credit report as these
       accounts are not mine;

   11.It is a fact that I requested that all inquires be removed from my credit report as I have not
       requested or filed for any new credit in the past 3 years;

   12. It is a fact the I also requested that all inquiries be removed from my credit report immediately;

   13. It is a fact that the credit bureaus and the companies have only sent copies of bills and copies of
        statements, these are not proof or validation of a debt;

   14. It is a fact that a statement does not provide factual evidence that I was the one who opened the
        account. It is not factual evidence that the account is not fraud;

   15.It is a fact that after receiving no relief from any creditors or Equifax, TransUnion and Experian I
       filed complaints with the Consumer Financial Protection Bureau;

   16. It is a Fact that the CFPB sent responses stating that listed creditors and the credit bureaus would
        conduct yet another investigation which they have already had ample time to do. By this time
        they had over 14 months to investigate these fraudulent accounts on my report;
              Case 8:21-cv-02623-DKC Document 1-2 Filed 10/13/21 Page 7 of 9
Sdert;it                                                                                           Page 3 of 5

   17.It is a fact that these items on my report have caused me and my family great stress and mental
       anguish;

   18.It is a fact that having these accounts on my credit report have cost me a considerable amount of
       money. I have not been able to purchase a home or get a lease due to these accounts;

   19. It is a fact that my business has been turned downed for fimding and I have lost revenue due to
        these negative accounts on my credit report;

   20. It is a fact that I have reached out to a credit restoration company to help restore my credit as all
       three bureaus and each creditor have not provided relief, nor have they proved that this erroneous
       debt belongs to me;

   21. It is a fact that I am monitoring my credit report which is costing me roughly $363.00 per year
        since my discovery of these fraudulent accounts;

   22. It is a fact that I have spent $11,800.00 on credit repair services to get these fraudulent accounts
        removed from my credit report;

   23. It is a fact that I have spent $1,600.00 on certified mailings and now court filings to get these
        fraudulent accounts removed from my credit report;

   24.1 am seeking relief for failure to adhere to the Fair Credit Reporting Act as well as the accuracy of
       reporting;

   25.1 demand all addresses be removed from my credit report that are not my current address of
       12310 Kemmerton Lane Bowie Maryland 20715.

   26.1 demand that all fraudulent and disputed accounts from Portfolio Recovery be removed from my
       credit report on all three credit bureaus within 7 days of receipt of this notice;

   27. I demand that these accounts not be sold to any other creditor now or ever and be removed from
        my credit report immediately;

   28. I am seeking relief in the amount of $29,061.50.00 for violations of all three credit bureaus, lost
        revenue, cost of credit monitoring services, monies lost for credit repair and costs for all mailing
        for the past 16 months.
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Aallidal;it                                                                                           Page 4 of 5

    29. It is a fact that I filed a police report regarding these fraudulent accounts found on my credit
         report; Exhibit A (not inclosed)

    30. It is a fact that I have notified and demanded no reporting of my credit information by all three
         bureaus without my written consent;

    31. It is a fact that I have notified the credit bureaus that a fee will be assessed of $1,000.00 per for
         each unauthorized account remaining on my credit report;

    32.1 expect that my credit score will be updated within 10 days and there to be an increase in my
        score as of September 2020 of at minimum 143 points according to the three major bureaus's
        algorithm. The projected increase per their algorithm states the removal of these fraudulent and
        derogatoty accounts is estimated as such.

    33. It is a fact that I requested all disputed fraudulent accounts be removed from my credit report in
         beginning in May of 2019 from all three credit bureaus and all fraudulent creditors. In addition,
         several other letters and correspondence was sent to all bureaus as well as creditors. In addition,
         the credit bureaus as well as the companies were notified of default in July 2020 by certified mail
        to remove all alleged and fraudulent accounts from my credit report by affidavit

    34. Notice, pursuant to 28 USC 1746(1) and executed "without the United States," I affirm under
        penalty of perjury under the laws of the United States of America that the foregoing is true and
        correct, to the best of my knowledge. Further this affidavit Saith Not;
•       .      ,            Case 8:21-cv-02623-DKC Document 1-2 Filed 10/13/21 Page 9 of 9
    -   Affidavit                                                                              Page 5 of 5

         STATE OF MARYLAND

         COUNTY OF PRINCE GEORGE'S



         SUBSCRIBED AND SWORN TO BEFORE
         ME, on the I VI day of                                            (Signature)
        jepfr_ctal2      00 DO
                                                                   Pamela Annette Bowman

         Signature 04,flp-qa4.0t,                          Notice, UCC 1-308, UCC 1-204, All Rights
         (Seal)                                                    Reserved Without Prejudice
         NOTARY PUBLIC
         My Commission expires:

            ANGELA MARIE JACKSON
        NOTARY PUBLIC STATE OF MARYLAND
         My Commission Expkes January 28, 2024




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